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                                 IN T H E UNITED STATES DISTRIC T C O U R T
                                 F O R T H E NORTHERN DISTRICT O F T E X A S
                                               DALLAS DIVISION

JOHNSON M E D I C A L ASSOCIATES,                         §
                                                          §
           Plaintiff,                                     §
                                                          §
v.                                                        §      No.
                                                          §
STATE FARM LLOYDS,                                        §         J U R Y DEMAND
                                                          §
           Defendant.                                     §

                                     DEFENDANT'S NOTICE OF R E M O V A L

TO THE HONORABLE COURT:

           Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Lloyds ("State

Farm") files this Notice of Removal to the United States District Court for the Northern District

of Texas, Dallas Division, on the basis of diversity of citizenship and amount in controversy and

respectfully show:

                                               I.
                              FACTUAL AND PROCEDURAL BACKGROUND

           1.         On January 26, 2015, Plaintiff Johnson Medical Associates filed its Original

Petition in the matter styled Johnson Medical Associates v. State Farm Lloyds, Cause No. DC-

15-00904, in the 298th Judicial District Court of Dallas County, Texas. The lawsuit arises out of

a claim Plaintiff made for damages to its property under an insurance policy with State Farm.

           2.         Plaintiff served State Farm with a copy of the Original Petition on or about

January 27, 2015.

           3.         Defendant State Farm files this Notice of Removal within 30 days of receiving

Plaintiffs pleading. See 28 U.S.C. §1446(b). In addition, this Notice of Removal is being filed

within one year of the commencement of this action. See id.

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            4.          All pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).                       A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff. As required by 28

U.S.C. § 1446(a), and Rule 81.1 of the Local Rules for the United States District Court of the

Northern District of Texas, being filed simultaneously with the filing of this Notice of Removal

is an Index of State Court Documents, which is attached hereto as Exhibit "A." A copy of the

Case Summary sheet is attached hereto as Exhibit "B." A copy of the Civil Case Information

Sheet is attached hereto as Exhibit "C." A copy of Plaintiff s Original Petition is attached hereto

as Exhibit "D." A copy of the Citation to State Farm Lloyds is attached hereto as Exhibit "E." A

copy of Defendant State Farm Lloyds' Special Exceptions and Original Answer to Plaintiffs

Original Petition is attached hereto as Exhibit "F." A copy of the proposed Order on Defendant

State Farm Lloyds' Special Exceptions to Plaintiffs Original Petition is attached hereto as

Exhibit "G." Also included with this filing are Defendant's Certificate of Interested Persons,

which is attached hereto as Exhibit "H," and a Supplemental Civil Cover Sheet.

            5.          Venue is proper in this Court under 28 U.S.C. §1441 (a) because this district and

division embrace Dallas County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                                  II.

                                                        BASIS FOR R E M O V A L

            6.          This Court has jurisdiction over this action under 28 U.S.C. § 1332 in that there is

diversity of citizenship between all parties in interest (Plaintiff and State Farm) and, as is

apparent from the face of Plaintiff s Original Petition and its Civil Case Information Sheet, the

value of the matter in controversy exceeds $75,000.00, exclusive of interest and costs. See Pi's

Original Pet.              69-70, attached hereto as Exhibit "D;" Civil Case Information Sheet, attached
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hereto as Exhibit "C." Consequently, Defendant State Farm may remove this action pursuant to

28 U.S.C. §§ 1332 and 1446.

A. The Parties Are Of Diverse Citizenship

           7.          At the time this action was commenced. Plaintiff was, and still is, a medical

facility and its premises are located in Richardson, Dallas County, Texas, and Plaintiff is a

citizen of the state of Texas. See Pi's Original Pet. f 3, attached hereto as Exhibit "D."

           8.          Defendant State Farm, is, and was at the time the lawsuit was filed, a citizen of

the states of Illinois, Colorado and Pennsylvania.            State Farm Lloyds is a "Lloyd's Plan"

organized under Chapter 941 of the Texas Insurance Code.               It consists of an association of

underwriters, each of whom, at the time this action was commenced were, and still are, citizens

and residents of the states of Illinois, Colorado and Pennsylvania. Therefore, State Farm Lloyds

is a citizen and resident of the states of Illinois, Colorado and Pennsylvania for diversity

purposes. Royal Ins. Co. v. Quinn-L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v.

State Farm Lloyd's Ins. Co., 993 F. Supp. 568, 570 (S.D. Tex. 1998 ("the citizenship of State

Farm Lloyds must be determined solely by the citizenship of its members, or underwriters.");

Rappaport v. State Farm Lloyd's, 1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm

Lloyd's is an unincorporated association whose members are completely diverse with Plaintiff,

and denying remand).

B. The Amount in Controversy Exceeds $75,000.00

           9.          This is a civil action in which the amount in controversy exceeds $75,000.00. In

its complaint, Plaintiff alleges a variety of claims arising from Defendant's "fail[ure] and

refus[al] to pay Plaintiff in accordance with its promises under the Policy. See Pi's Original Pet.

f 11, attached hereto as Exhibit "D." Specifically, but without limitation, Plaintiff alleges that



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Defendant State Farm was negligent, breach its contract, violated the Texas Deceptive Trade

Practices Act. violated the Texas Insurance Code, breached the common-law duty of good faith

and fair dealing, breached its fiduciary duty, committed unfair insurance practices, committed

m i sreprcsen t at ion. and committed common-law fraud by negligent misrepresentation. Plaintiff

alleges that it is seeking damages in excess of the minimum jurisdiction limits, but Plaintiff fails

to make a statement of monetary relief in violation of TEX. R. CIV. P. 47(c). See Pi's Original

Pet. f 69, attached hereto as Exhibit "D." Plaintiff also makes claims for additional damages and

penalty interest. See id. at 70.

            10.         On Plaintiffs Civil Case Information Sheet, it has marked that it seeks damages

of "$200,000 but not more than $1,000,000." See Civil Case Information Sheet, attached hereto

as Exhibit "C." Thus, the representation on Plaintiffs Civil Case Information Sheet evidences

that alleged damages exceed the amount in controversy threshold of $75,000.00. Based on the

allegations set forth in Plaintiffs Original Petition and its Civil Case Information Sheet, the

amount in controversy in this case exceeds the $75,000.00 jurisdictional requirement

                                                          Conclusion and Prayer

            A l l requirements are met for removal under 28 U.S.C. §§ 1332, 1441, and 1446.

Accordingly, State Farm Lloyds hereby removes this case to this Court for trial and

determination.




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                                                            Respectfully submitted,

                                                            Isi Rhonda J. Thompson
                                                            Rhonda J. Thompson
                                                            State Bar No.: 24029862
                                                            Scott L . Rogers
                                                            State Bar No.: 24064369

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                                                            COUNSEL FOR DEFENDANT
                                                            S T A T E FARM L L O Y D S


                                              CERTIFICATE OF SERVICE

       This is to certify that on the 25th day of February, 2015, a true and correct copy of the
foregoing was delivered to the following counsel of record by electronic service and/or facsimile
transmission and/or certified mail, return receipt requested:

           Scott G. Hun/.iker
           THE Voss L A W FIRM, P.C.
           26619 Interstate 45 South
           The Woodlands, Texas 77380
                  Counsel for Plaintiff

                                                         /s/ Rhonda J. Thompson
                                                         Rhonda J. Thompson




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